      Case 2:07-cr-01402-SJO Document 893 Filed 01/23/18 Page 1 of 3 Page ID #:8277

                                     Office of the Clerk
                    United States Court of Appeals for the Ninth Circuit
                                   Post Office Box 193939
                            San Francisco, California 94119-3939
                                        415-355-8000
Molly C. Dwyer
Clerk of Court                          January 23, 2018


       No.:         18-50020
       D.C. No.: 2:07-cr-01402-SJO-4
       Short Title: USA v. Alberino Magi


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
Case 2:07-cr-01402-SJO Document 893 Filed 01/23/18 Page 2 of 3 Page ID #:8278




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JAN 23 2018
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 18-50020

               Plaintiff - Appellee,
                                                D.C. No. 2:07-cr-01402-SJO-4
   v.                                           U.S. District Court for Central
                                                California, Los Angeles
 ALBERINO MAGI, AKA Ron
 Anderson, AKA Robert Knowles, AKA              TIME SCHEDULE ORDER
 Alberiono Magi, AKA Rino, AKA Glen
 Ross, AKA Robert Ross,

               Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.

Mon., February 12, 2018       Transcript shall be ordered.
Wed., March 14, 2018          Transcript shall be filed by court reporter.
Mon., April 23, 2018          Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
Wed., May 23, 2018            Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
Case 2:07-cr-01402-SJO Document 893 Filed 01/23/18 Page 3 of 3 Page ID #:8279
The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: Rhianna Rose Hixon
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
